          Case 5:23-cv-00415-MTT Document 3 Filed 10/25/23 Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF GEORGIA
                                  MACON DIVISION

 BRIAN SPARKS,

        Plaintiff,
                                                   Civil Action No. 5:23-cv-00415-MTT
 v.

 LOUISWILLIAM LLC and JOHN S. RAY,                 JURY TRIAL DEMANDED

       Defendants.


         NOTICE OF ENTRY OF APPEARANCE ON BEHALF OF PLAINTIFF

       Justin M. Scott, of Radford Scott LLP, hereby enters his appearance in the above-captioned

action on behalf of Plaintiff Brian Sparks.

       Respectfully submitted, this 25th day of October 2023.

                                                     /s/ Justin M. Scott
                                                     Justin M. Scott
                                                     Georgia Bar No. 557463
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                                                     Counsel for Plaintiff




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           Case 5:23-cv-00415-MTT Document 3 Filed 10/25/23 Page 2 of 2




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 BRIAN SPARKS,

        Plaintiff,
                                                        Civil Action No. 5:23-cv-00415-MTT
 v.

 LOUISWILLIAM LLC and JOHN S. RAY,                      JURY TRIAL DEMANDED

       Defendants.


                                  CERTIFICATE OF SERVICE

       I hereby certify that on October 25, 2023, I electronically filed the foregoing document

with the Clerk of the Court using the CM/ECF system, which will automatically send e-mail

notification of such filing to all counsel of record.

       Respectfully submitted, this 25th day of October 2023.

                                                          /s/ Justin M. Scott
                                                          Justin M. Scott
                                                          Georgia Bar No. 557463
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